                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )       Criminal No. 3:16-00162
                                                    )       Judge Trauger
JAMES C. MCWHORTER                                  )

                                           ORDER

        It is hereby ORDERED that the United States Probation Office for the Middle District

of Tennessee is authorized to disclose to the Tennessee Supreme Court Board of Professional

Responsibility and to the law firm of Tennyson & Wigginton, PLLC, the portion of the

Presentence Investigation Report of James C. McWhorter relating to his educational background.

       On February 8, 2018, I instructed the Probation Office to alert the appropriate authorities

that Mr. McWhorter might be practicing law without a license and holding himself out to the

public as having a law degree when it was my information from his Presentence Investigation

Report that he had no J.D. degree.

       It is so ORDERED.

       ENTERED nunc pro tunc to February 8, 2018.




                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




     Case 3:16-cr-00162 Document 35 Filed 02/16/18 Page 1 of 1 PageID #: 213
